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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                      )
                                                )
                        Plaintiff,              )
                                                )
 v.                                             )       Case No. 18-CR-0251-CVE
                                                )
 CHRISTOPHER R. PARKS,                          )
 GARY ROBERT LEE, and                           )
 JERRY MAY KEEPERS,                             )
                                                )
                        Defendants.             )


                                      OPINION AND ORDER

        Now before the Court are the Motion of Defendant Christopher R. Parks to Dismiss Count

 Twenty-Five (25) of the Superceding Indictment for Improper Multiplicity (Dkt. # 77), the Motion

 in Limine of Christopher R. Parks (Dkt. # 155), and the Motion of Defendant Christopher R. Parks

 to Dismiss County Twenty-Five (25) of the Superceding Indictment for Improper Multiplicity (Dkt.

 # 156).1 Parks argues that counts one and twenty-five seek to impose criminal liability for the same

 conspiracy, and he asks the Court to dismiss count twenty-five under the doctrine of multiplicity.

 Parks has also filed a motion in limine asking the Court to exclude 12 categories of evidence at trial.

 Plaintiff responds that counts one and twenty-five of the superseding indictment allege crimes under

 separate statutes that require proof of different facts and, even if the Court finds that the counts are

 multiplicitous, plaintiff may elect to dismiss either count one or twenty-five to cure this issue. Dkt.




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        Parks has filed two motions seeking dismissal of count twenty five of the superseding
        indictment, and the motions are nearly identical. Dkt. ## 77, 156. The second motion for
        dismissal of count twenty-five (Dkt. # 156) is moot, and in the future defense counsel should
        refrain from filing multiple motions for the same relief.
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 # 164. Plaintiff has also responded to the motion in limine and opposes some of Parks’ requests to

 exclude evidence.2 Dkt. # 163.

                                                  I.

        On December 7, 2018, a grand jury returned an indictment charging Christopher R. Parks and

 Gary Robert Lee with conspiracy to commit an offense against the United States (count one). Dkt.

 # 3. Parks and Lee are accused of paying bribes or kickbacks to physicians to induce the physicians

 to refer patients to pharmacies operated by Parks and Lee to fill prescriptions for expensive

 compounded drugs. Id. at 3. Counts two through twenty-four of the indictment charge Jerry May

 Keepers, a physician, with willfully soliciting bribes or kickbacks from Parks and Lee in exchange

 for patient referrals with the knowledge that federal healthcare programs would be billed for

 compounded drugs. Id. at 16-18. Parks, Lee, and Keepers are also charged with conspiracy to

 commit health care fraud in violation of 18 U.S.C. §§ 1347 and 1349 in count twenty-five of the

 indictment. Id. at 20-21. A grand jury returned a superseding indictment (Dkt. # 48) realleging the

 counts of the original indictment, and alleging additional criminal charges against Krishna Balarama

 Parchuri, but the charges against Parchuri have been dismissed. See Dkt. # 136.

        Parks argues that counts one and twenty-five of the superseding indictment seek to impose

 criminal liability for the same conduct, and he asks the Court to dismiss count twenty-five under the

 doctrine of multiplicity. “Multiplicity refers to multiple counts of an indictment which cover the

 same criminal behavior.” United States v. Morehead, 959 F.2d 1489, 1505 (10th Cir. 1992) (quoting



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        The Court has reviewed the docket sheet and plaintiff has filed three motions in limine (Dkt.
        ## 97, 98, 99) and two notices of intent to offer evidence under Fed. R. Evid. 404(b) (Dkt.
        # 100, 101). However, defendants have not responded to these filings, and the Court will
        allow defendants to respond before ruling on these matters.

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 United States v. Dashney, 937 F.2d 532, 540 n.7 (10th Cir. 1991)). “While multiplicity is not fatal

 to an indictment, . . . it poses the threat of multiple sentences for the same offense and may

 improperly suggest to the jury that the defendant has committed more than one crime.” Id. In a

 conspiracy case, the jury must be required to find “the existence of more than one agreement to

 perform some illegal act or acts” to sustain convictions under separate conspiracy statutes. United

 States v. Frierson, 698 F.3d 1267, 1270 (10th Cir. 2012). “A decision of whether to require the

 prosecution to elect between multiplicitous counts before trial is within the discretion of the trial

 court.” United States v. Johnson, 130 F.3d 1420, 1426 (10th Cir. 1997). The Tenth Circuit has

 recognized that the same conduct can in some circumstances result in the prosecution for multiple

 crimes but, under the Blockburger test, each crime must require proof of a fact that the other does

 not. United States v. Yurek, 925 F.3d 423, 438 (10th Cir. 2019) (citing Blockburger v. United

 States, 284 U.S. 299, 304 (1932)).

        In this case, defendants are charged in the superseding indictment with conspiracy to commit

 an offense against the United States in violation of 18 U.S.C. § 371 (count one) and conspiracy to

 commit health care fraud in violation of 18 U.S.C. §§ 1347 and 1349 (count twenty-five). Count one

 of the superseding indictment alleges that the defendants conspired to violate 42 U.S.C. §§ 1320a-

 7b(b)(2)(A) and 1320a-7b(b)(1) by offering bribes and kickbacks for patient referrals to pharmacies

 operated by Parks and Lee for the purpose of billing federal health care programs for the patient’s

 prescriptions. Dkt. # 48, at 2. Count twenty-five alleges that the defendants conspired to commit

 health care fraud in violation of 18 U.S.C. § 1347, and count twenty-five incorporates all of the

 factual allegations of count one as the factual basis for the charge. Id. at 23-24. Count twenty-five

 also alleges that the purpose of the conspiracy alleged in this count was to defraud a health care


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 benefit program by means of materially false or fraudulent representations. Id. at 23. Section 371

 prohibits two or more persons from conspiring to commit an offense against or to defraud the United

 States. 18 U.S.C. § 371. The elements necessary to sustain a conviction of count one under § 371

 are:

        First: the defendant agreed with at least one other person to violate the law.

        Second: one of the conspirators engaged in at least one overt act furthering the
        conspiracy’s objective.

        Third: the defendant knew the essential objective of the conspiracy.

        Fourth: the defendant knowingly and voluntarily participated in the conspiracy.

        Fifth: there was interdependence among the members of the conspiracy; that is, the
        members, in some way or manner, intended to act together for their shared mutual
        benefit within the scope of the conspiracy charged.

 Tenth Circuit Pattern Jury Instruction 2.19. Section 1347 makes it a crime to knowingly or willfully

 execute or attempt to execute a scheme to “(1) defraud any health care benefit program; or (2) to

 obtain, by means of false or fraudulent pretenses, representations, or promises, any of the money or

 property owned by, or under the custody or control of, any health care benefit program.” 18 U.S.C.

 § 3147. The term “health care benefit program” is defined to include “any public or private plan or

 contract,” and a violation of § 1347 can involve a health care program operated by the federal

 government or a private insurer. 18 U.S.C. § 24(b). Under § 1349, it also a crime to enter a

 conspiracy to violate § 1347. The elements necessary to sustain a conviction of count twenty-five

 under §§ 1347 and 1349 are as follows:

        First: two or more people reached an agreement to commit the crime of [health care fraud];

        Second: the defendant knew the essential objective of the conspiracy;



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        Third: the defendant knowingly and voluntarily participated in the conspiracy; and

        Fourth: the alleged coconspirators were interdependent.

 United States v. Wright, 848 F.3d 1274, 1279 (10th Cir. 2017).

        Plaintiff cites United States v. Gonzalez, 834 F.3d 1206 (11th Cir. 2016), for the proposition

 that conspiracy charges under § 371 (count one) and 1349 (count twenty-five) constitute separate

 crimes under the Blockburger test. In Gonzalez, the defendant was charged with conspiracy to

 defraud the United States in violation of § 371 and conspiracy to commit health care fraud in

 violation of §§ 1347 and 1349, and she was convicted of both charges following a jury trial. Id. at

 1213. On appeal, the defendant argued she could not be convicted of both offenses, because the two

 charged conspiracies constituted only one offense and the charges were multiplicitous. The court

 found that it was “plain that each [charge] requires proof of a unique element not required by the

 other.” Id. at 1220. Section 371 requires proof of an overt act and evidence that the intended victim

 of the offense was the United States, while § 1349 does not require proof of an overt act or evidence

 that the intended victim was the United States. Id. For the purpose of a § 1347 conspiracy, the

 victim of the offense can be a private insurer. Id. In United States v. Njoku, 737 F.3d 55 (5th Cir.

 2013), the Fifth Circuit also found that convictions under § 371 and § 1349 required proof of

 different conduct, specifically that § 1349 requires evidence that the defendant committed fraud and

 not merely that the conspirators intended to commit any offense against the United States. Id. at 67.

        The Court finds that counts one and twenty-five allege separate conspiracies and do not

 constitute the same offense under the Blockburger test. Counts one and twenty-five each require

 proof of different conduct in order to sustain a conviction, and defendants have not been charged

 with the same conspiracy in two separate criminal charges. Although there is certainly factual


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 overlap between the charges, plaintiff will be required to offer proof of an overt act to sustain a

 conviction of count one, while count twenty-five requires no such proof. Count twenty-five also

 requires evidence that defendants acted with the intent to defraud any health care benefit program,

 while defendants can be convicted of count one for agreeing to commit any offense against the

 United States. Parks has not shown that he has been improperly charged with the same crime in two

 separate counts of the superseding indictment, and his motion to dismiss count twenty-five of the

 superseding indictment (Dkt. # 77) is denied.

                                                    II.

         Parks has also filed a motion in limine (Dkt. # 155) asking the Court to exclude 12 categories

 of evidence at trial. Plaintiff has filed a response (Dkt. # 163) and argues that some of the evidence

 that Parks seeks to exclude is relevant to issues that will be raised at trial. However, plaintiff agrees

 that it will not offer evidence or solicit testimony as described in issues no. 3, 5, 6, 7, and 12, and

 the motion in limine is moot as to these issues.

 Parks’ Education as a Lawyer

         Parks possesses a law degree but he states that he has not practiced law since 1998, and he

 asks the Court to exclude evidence that he possesses a law degree. Dkt. # 155, at 2-3. He claims

 that his legal background is irrelevant, because he does not possess specialized knowledge of health

 care regulations and he was not practicing law when the acts giving rise to this case occurred. Dkt.

 # 155, at 3. Plaintiff responds that the charges alleged in the superseding indictment require plaintiff

 to prove that Parks acted knowingly and willfully, and Parks’ background in the legal profession is

 relevant to show that he understood the law. Dkt. # 163, at 2. Plaintiff also alleges that Parks

 informed business associates and co-conspirators that he possessed a law degree, and he used this


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 fact to promote the alleged conspiracy. Id. The Court finds that Park’s legal education could be

 relevant to show that Parks understood the illegality of his conduct and that he acted with the

 requisite intent, and Parks’ request to exclude evidence of his legal background is denied.

 Oklahoma Pharmacy Board (OPB) Administrative Settlement

        Parks states that he paid a fine to the OPB for “organizational and operational issues”

 unrelated to any alleged kickback or bribes, and he asks the Court to exclude evidence of the

 administrative action initiated by the OPB. Dkt. # 155, at 3. Plaintiff has provided a copy of the

 OPB’s agreed final order (Dkt. # 163-1) and the Court finds that Parks’ characterization of the

 administrative proceedings is misleading. The OPB found that OK Compounding, LLC (OKC)

 falsely represented to medical providers that it was participating in a study with the Rush University

 Medical Center in order to generate business, that OKC routinely failed to follow safety and billing

 regulations, and that OKC improperly billed insurance companies for millions of dollars of improper

 prescriptions. As to the improper billing, the evidence showed that federal programs such as

 Medicare and TriCare were some of the programs billed for prescriptions that should not have been

 filled by OKC. Dkt. # 163-1. Plaintiff argues that the administrative order shows that Parks was

 willing to operate his business in violation of the law and the he prioritized profit over compliance

 with the law. Evidence related to the OPB’s administrative action against Parks could be relevant

 at trial, and Park’s request to exclude this evidence is denied.

 Parks’ Wealth

        Parks asks the Court to exclude evidence of his personal income earned from operating OKC.

 Dkt. # 155, at 4. Plaintiff agrees that Parks’ general wealth and assets are not likely to be relevant

 at trial, but plaintiff intends to offer evidence concerning money generated by pharmacies that are


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 part of the charged conspiracy. Dkt. # 163, at 4. Money earned by Parks from pharmacies that were

 allegedly utilized as part of the charged conspiracy is relevant, and the Court will not exclude

 evidence of Parks’ income from OKC or other pharmacies operated by defendants.

 Parks’ and Physician’s State of Mind

           Parks seeks to prevent any witness from testifying as to his state of mind or intent, and he

 also asks the Court to exclude opinion testimony about the state of mind of physicians who referred

 patients to one of Parks’ pharmacies. Dkt. # 155, at 6. Plaintiff agrees not to solicit opinion

 testimony from witnesses concerning the state of mind of Parks or physicians who did business with

 Parks, but it will offer evidence of their “words, actions, and other evidence probative of their

 knowledge and intent.” Dkt. # 163, at 7. The Court finds that witnesses will not be permitted to

 directly opine as to Parks’ or any physician’s state of mind or intent, but plaintiff may introduce

 evidence and question witnesses as to facts that allow the jury to infer state of mind or intent.

 Standing Orders for Prescriptions

           Parks states that physicians gave OKC standing orders to alter or make “harmless changes”

 in the composition of certain prescriptions, and he claims that this practice had nothing to do with

 the issue of remuneration to physicians for making referrals to OKC. Dkt. # 155, at 5. Plaintiff

 responds that OKC’s reimbursement depended upon the formulas used to make certain compounds,

 and the practice of using standing orders is relevant to OKC’s motive and intent of maximizing

 profits. Dkt. # 163. The Court finds that it does not have a sufficient basis to make a pretrial ruling

 on this issue, and Parks’ request to exclude evidence related to standing orders is preliminarily

 denied.




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 Patients Receiving Too Many or Few Prescriptions

        Parks asks the Court to exclude evidence that OKC provided too many or too few

 prescriptions for a “very small minority” of patients, because this evidence is irrelevant to the issue

 of whether physicians received bribes or kickbacks from OKC. Dkt. # 155. Plaintiff responds that

 some patients received unwanted medication from OKC and this evidence tends to show that

 defendants’ actions were motivated by profit and not for the purpose of patient care. The Court finds

 that evidence of overfilling prescriptions could be relevant to plaintiff’s argument that defendants’

 pharmacies prioritized profit over other motivations, and Parks’ request to exclude evidence of

 improperly filled prescriptions is denied.

        IT IS THEREFORE ORDERED that Motion of Defendant Christopher R. Parks to

 Dismiss Count Twenty-Five (25) of the Superceding Indictment for Improper Multiplicity (Dkt. #

 77) is denied.

        IT IS FURTHER ORDERED that the Motion in Limine of Christopher R. Parks (Dkt. #

 155) is moot in part and denied in part as stated above.

        IT IS FURTHER ORDERED that the Motion of Defendant Christopher R. Parks to

 Dismiss County Twenty-Five (25) of the Superceding Indictment for Improper Multiplicity (Dkt. #

 156) is moot.

        IT IS FURTHER ORDERED that defendants’ responses to Dkt. ## 97, 98, 99, 100, 101

 are due no later than November 23, 2021.

        DATED this 10th of November, 2021.




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